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                             THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

CHILLY DIL CONSULTING INC., a                           §
Florida corporation,                                    §
                                                        §
                Plaintiff,                              §
                                                        §
V.                                                      §   CIVIL ACTION NO. 3:14-cv-02749-P
                                                        §
JETPAY ISO SERVICES, LLC, a Texas                       §
limited liability company; JETPAY, LLC, a               §
Texas limited liability company; JETPAY                 §
CORPORATION, a Delaware corporation;                    §
and TRENT R VOIGT, an individual,                       §
                                                        §
                Defendants.                             §

                          PLAINTIFF’S MOTION TO COMPEL AND
                         MOTION FOR SANCTIONS UNDER FRCP 37




        Plaintiff Chilly Dil Consulting, Inc. (“Chilly Dil”) files this motion to compel Defendant

Jetpay ISO Services, LLC (“JetPay”) to provide full, accurate and complete answers and produce,

or identify as privileged with appropriate factual and legal basis, all responsive documents required

by Chilly Dil’s Interrogatories and Documents Requests pursuant to Federal Rule of Civil Procedure

(“FRCP”) 37(a)(1), and for sanctions pursuant to FRCP 37(a)(5). This motion is based upon the

attached Memorandum in Support, the attached Appendix, and all pleadings and papers on file.

These materials are hereby incorporated by reference into this motion as if fully set forth herein.




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                                               SUMMARY

        The Court should order JetPay to produce documents, answer interrogatories and

supplement its discovery responses. Further, the Court should sanction JetPay pursuant to FRCP

37.




                                                           Respectfully submitted,

                                                           David Steiner & Associates, PLC

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                   Certificate Conference pursuant to L.R. 7.1(a), (b), (h))
         Counsel for Plaintiff Chilly Dil Consulting, Inc. (“Chilly Dil”), David P. Steiner, met

and conferred with counsel for Defendant Jetpay ISO Services, LLC (“JetPay”), Lauren Tow and

Micah Dortch of Cooper & Scully, numerous times by way of phone conferences and email

communications from April 28, 2015, 2015 through May 21, 2015 concerning JetPay’s Response

and Objections to Chilly Dil’s First Set of Interrogatories and Documents Requests. By meeting

and conferring, Chilly Dil attempted to obtain supplemental responses to these discovery

requests from JetPay without this Court’s intervention. (See Appendix, Declaration of David P.

Steiner, ¶¶ 8-13.) However, despite these efforts, Chilly Dil has not received any further
responses or production of documents from JetPay. (See Id. at ¶15.)


                                                           David Steiner & Associates, PLC

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                                    CERTIFICATE OF SERVICE


        This is to certify that on June 17, 2015, the foregoing was served upon counsel of record
in accordance with the Federal Rules of Civil Procedure as set forth below by U.S. Mail or
electronic filing.

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